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12                                          UNITED STATES DISTRICT COURT
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                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
        BARRY ROSEN, Individually and as a Private
15      Attorney General,                                             Case No. 2:17-cv-07727-PSG-JEMx
16          Petitioner and Plaintiff,                                 DECLARATION OF GARY FELDON IN
17                                                                    SUPPORT OF EX PARTE APPLICATION FOR
                 v.                                                   EXTENSION OF TIME TO RESPOND TO
18                                                                    PETITION
        UNITED STATES GOVERNMENT, FEDERAL
19      AVIATION ADMINISTRATION, and CITY OF                          Hon. Philip S. Gutierrez
        SANTA MONICA,
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21          Respondents and Defendants.

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       Rosen v. United States, et al., No. 2:17-cv-07727-PSG-JEMx (C.D. Cal.)
       Federal Defendants’ Ex Parte Application for Extension of Time to Respond to Petition            1
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 1             I, Gary D. Feldon, declare:

 2             1.       I am a trial attorney with the United States Department of Justice, Civil Division. This

 3     declaration in support of Defendants United States and Federal Aviation Administration’s Ex Parte

 4     Application for Extension of Time to Respond to Petition is based on my personal knowledge and

 5     information obtained in the course of my official duties.

 6             2.       Pro se Plaintiff Barry Rosen filed his (Verified) Petition for Writ of Mandate and

 7     Complaint for Declaratory and Injunctive Relief on October 23, 2017 (the “First Petition”).

 8             3.       Plaintiff filed his (Verified) First Amended Petition for Writ of Mandate and Complaint
 9     for Declaratory and Injunctive Relief on November 15, 2017 (the “Amended Petition”).
10             4.       An Assistant U.S. Attorney in the U.S. Attorney’s Office for the Central District of
11     California informed me that the her office received a mailed copy of the First Petition sent on October
12     24, 2017, and a mailed copy of the Amended Petition sent on November 17, 2017.
13             5.       I understand that the attorney for Defendants United States and the Federal Aviation
14     Administration (collectively, the “Federal Defendants”) who had primarily responsibility for the above-
15     captioned matter before that responsibility was transferred to me spoke to Plaintiff by telephone at the
16     number Plaintiff provided in his First Petition (323-653-2043) on December 12, 19, and 20 regarding
17     service of the pleadings and Plaintiff’s consent to an extension.
18             6.       I have been informed that Plaintiff admits that service of the First Petition was not

19     effective but asserts that service of the Amended Petition was effective (which would make the date for

20     a response due January 16, 2018). Further, I understand that Plaintiff would confirm neither his consent

21     nor his opposition to an extension of the Federal Defendants’ deadline.

22             7.       This case was assigned to me only last week, having previously been handled by an

23     attorney in a different division of the Department of Justice However, I currently have the following

24     deadlines for dispositive motions in the following cases due in the next two months: (1) a reply brief in

25     support of a motion for summary judgment in American Center for Law and Justice v. Department of

26     Justice, 1:17-cv-00421 (RDM) (D.D.C.), on January 12, 2018; (2) a motion for summary judgment in

27     Holloway v. Lynch, 1:17-cv-00081-CCC (M.D. Pa.), on January 15, 2018; and (3) a motion for summary

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 1     judgment in Judicial Watch, Inc. v. Department of Justice, 1:17-cv-01520-BAH (D.D.C.), on February

 2     16, 2018. In addition, during that span, I have two deadlines concerning expert reports in Holloway and

 3     mediation in M.W. v. Department of the Army, 5:16-cv-04051-LHK (N.D. Cal.), the case for which I am

 4     currently traveling for a case management conference.

 5             8.       I also had leave approved from December 22, 2017, through December 29, 2017, before

 6     being assigned the above-captioned matter.

 7             9.       Based on the foregoing, I believe the earliest date on which I will be able reasonably to

 8     produce a thorough briefing for the Court of the Federal Defendants’ positions regarding the claims in
 9     the Amended Petition is February 9, 2018.
10             10.      I have conferred with counsel for Defendant City of Santa Monica, who does not oppose
11     the requested extension.
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13             I declare under the penalty of perjury under the laws of the United States that the foregoing is
14     true and correct.
15             Executed on December 20, 2017, in San Jose, California.
16                                                                   /s/Gary D. Feldon
                                                                     Gary D. Feldon
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